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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.:


  DANIEL ESTERLY, individually and on behalf
  of all others similarly situated,

                          Plaintiff,
  v.

  NORTH BROWARD HOSPITAL DISTRICT
  d/b/a BROWARD HEALTH,

                         Defendant.


                                   CLASS ACTION COMPLAINT

         Plaintiff Daniel Esterly (“Plaintiff”), by and through the undersigned counsel, brings this

  class action complaint against Defendant North Broward Hospital District d/b/a Broward Health

  (“Defendant” or “Broward Health”), on behalf of himself and all others similarly situated. Plaintiff

  makes the following allegations based upon personal knowledge as to his own actions and upon

  information and belief as to all other matters:

                                       NATURE OF THE CASE

         1.      On January 1, 2022, Broward Health, a Florida-based healthcare system that

  operates more than 30 healthcare locations in Broward County, Florida, disclosed that it was the

  subject of a massive data breach whereby hackers gained unauthorized access to its networks

  between October 15 and October 19, 2021 (the “Data Breach”).

         2.      The hackers were able to access and exfiltrate highly-sensitive information stored

  on Broward Health’s servers, including patients’ full names, dates of birth, addresses, phone

  numbers, financial and bank account information, Social Security numbers, insurance information,
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  account numbers, medical information including history, condition, treatment and diagnoses,

  medical record numbers, driver’s license numbers and email addresses (“PII”).

         3.      The Data Breach occurred because Broward Health failed to implement reasonable

  security procedures and practices, failed to disclose material facts surrounding its deficient data

  security protocols, and failed to timely notify the victims of the Data Breach.

         4.      As a result of Broward Health’s failure to protect the sensitive information it was

  entrusted to safeguard, Plaintiff and class members did not receive the benefit of their bargain with

  Broward Health and now face a significant risk of medical-related identity theft and fraud,

  financial fraud, and other identity-related fraud now and into the indefinite future.

                                              PARTIES

         5.      Plaintiff Daniel Esterly is a resident of Pittsburgh, Pennsylvania and healthcare

  patient of Broward Health.

         6.      Defendant Broward Health is a healthcare system that operates several hospitals

  and dozens healthcare facilities in the South Florida region.

                                   JURISDICTION AND VENUE

         7.      This Court has subject matter jurisdiction over this action under the Class Action

  Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million exclusive of

  interest and costs. There are more than 100 putative class members and at least some members of

  the proposed Class have a different citizenship from Broward Health. This Court has supplemental

  jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 because all claims alleged

  herein form part of the same case or controversy.




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          8.      This Court has jurisdiction over Broward Health because it maintains and operates

  healthcare facilities in this District. Defendant is authorized to and conducts business in this

  District and is subject to general personal jurisdiction in this state.

          9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

  substantial part of the events and omissions giving rise to this action occurred in this District,

  Broward Health operates healthcare facilities within this District, and Broward Health has caused

  harm to Class members residing in this District.

                                     FACTUAL ALLEGATIONS

                                  Broward Health’s Privacy Practices

          10.     Broward Health operates four hospitals and more than 30 healthcare facilities in the

  South Florida region, including Broward Health Medical Center, Broward Health North, Broward

  Health Imperial Point, Broward Health Coral Springs, Salah Foundation Broward Health

  Children’s Hospital, and Broward Health Weston. Broward Health is overseen by a board of seven

  commissioners who are appointed by the Governor of Florida and confirmed by the Florida Senate.

          11.     In the course of providing healthcare services, Broward Health requires patients to

  provide personal information, including their full names, home addresses, dates of birth, email

  addresses, and Social Security numbers, financial information such as bank account and payment

  card numbers, and medical information including medical histories, past treatment records,

  prescription information, health provider information, and health insurance coverage. As a result,

  when patients are treated by a Broward Health healthcare facility, their highly sensitive personal

  identifiable information (“PII”) and protected health information (“PHI”) is stored on centralized

  servers maintained by Broward Health.




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         12.     Given the amount and sensitive nature of the data it collects, Broward Health

  maintains a “Notice of Privacy Practices for Protected Health Information” which describes how

  confidential patient information is used and disclosed. Broward Health represents that it: “will

  abide by the most stringent of the regulations as they pertain to Protected Health Information,

  including obtaining your prior written authorization, as required, before any such information is

  disclosed to a third party.”

         13.     The Notice of Privacy Practices states that “Broward Health is required by law to

  satisfy the following duties:

            •   Maintain the privacy of Protected Health Information

            •   Provide you with a notice of our legal duties and privacy practices with respect to
                Protected Health Information

            •   In the event of a breach of your unsecured Protected Health Information, Broward
                Health will provide written or other notification in accordance with federal and state
                law.”

         14.     Broward Health also maintains a “Code of Conduct” intended to demonstrate its

  “commitment to maintaining a culture of compliance.” As part of its Code, Broward Health

  maintains that it will “maintain[] the confidentiality of patient and other information in accordance

  with legal and ethical standards, and breaches will not be tolerated.”

         15.     In order to fulfill its commitment to “protect patient and property information,”

  Broward Health states that it will:

            •   Establish confidentiality and privacy policies and procedures that adhere to the
                Health Insurance Portability and Accountability Act (HIPAA).

            •   Respect and protect patients’ health and personal information in all forms, including
                paper, electronic, verbal, telephonic, social media, etc.

            •   Only access a patient’s chart when involved in that patient’s care or for a legitimate
                work-related reason such as billing, administrative, teaching or research
                requirements. Access is limited to only the minimum amount necessary to complete
                the related work.

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            •   Refrain from revealing information unless it is supported by a legitimate clinical or
                business purpose need, in compliance with our policies and procedures and
                applicable laws, rules and regulations.

            •   Refrain from discussing patient information in public, including, but not limited to,
                elevators, hallways or dining areas.

            •   Maintain computer workstations responsibly and refrain from sharing computer
                identification information and passwords.

            •   Carefully manage and maintain confidential and proprietary information to protect
                its value.

            •   Refrain from disclosing other Broward Health financial information, including the
                healthcare system’s financial performance and contract pricing for goods and
                services, without prior, appropriate approval.

            •   Refrain from using or sharing “insider information,” which is not otherwise available
                to the general public.

         16.     Broward Health also permits third-party providers, contractors, volunteers,

  physicians, and other individuals who perform services on behalf of Broward Health to access its

  systems and networks for various purposes. Broward Health requires these parties execute a

  “Confidentiality and Data Security Agreement” whereby they acknowledge that “Broward Health

  has a legal and ethical responsibility to safeguard the privacy of all patients” and agree to “protect

  the confidentiality of all information that [they] use, originate, discover, or develop in the

  performance of [their] duties at Broward Health.”

         17.     Among other requirements, the Confidentiality and Data Security Agreement

  provides that “Broward Health maintains audit trails of access to information and system activity

  and that the audit trail may be reviewed at any time.”

                                           The Data Breach

         18.     Contrary to its representations, on October 15, 2021, hackers infiltrated Broward

  Health’s networks and accessed highly sensitive patient information stored on its servers. Broward

  Health disclosed that it discovered the intrusion on October 19, 2021, and “promptly contained the

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  incident upon discovery, notified the FBI and the Department of Justice (DOJ), required all

  employees to update their passwords and engaged an independent cybersecurity firm to conduct

  an extensive investigation into the incident.”

         19.     According to Broward Health, the investigation revealed that “the intrusion

  occurred through the office of a third-party medical provider who is permitted access to the system

  to provide healthcare services.”

         20.     The investigation confirmed that extensive personal medical information was

  accessed, including patients’ full names, dates of birth, addresses, phone numbers, financial and

  bank account information, Social Security numbers, insurance information, account numbers,

  medical information including history, condition, treatment and diagnoses, medical record

  numbers, driver’s license numbers and email addresses.

         21.     Broward Health acknowledged this information was not only accessed, but also

  “exfiltrated, or removed, from Broward Health’s systems.” A disclosure by Broward Health to the

  office of the Maine attorney general revealed that the breach impacted 1,357,879 individuals.

         22.     Broward Health did not disclose the existence of the Data Breach until January 1,

  2022, when it began mailing individual notification letters. Broward Health attributed the delayed

  notification to a request from the DOJ to “briefly delay this notification to ensure that the

  notification does not compromise the ongoing law enforcement investigation.”

                                  The Data Breach was Preventable

         23.     Following the Data Breach, Broward Health stated that it “takes the protection of

  [patient] personal and medical information very seriously” and “is taking steps to prevent

  recurrence of similar incidents, which include the ongoing investigation, a password reset with




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  enhanced security measures across the enterprise, and the implementation of multifactor

  authentication for all users of its systems.”

         24.     Broward Health also stated it has “begun implementation of additional minimum-

  security requirements for devices that are not managed by Broward Health Information

  Technology that access our network, which will become effective in January 2022.”

         25.     But these “steps” are industry-standard measures that should have been

  implemented long before the Data Breach occurred. This is especially true given that the healthcare

  industry is frequently one of the most targeted sectors for cyberattacks and attacks using stolen

  credentials have increased precipitously over the last several years.

         26.     Healthcare providers like Broward Health are prime targets because of the

  information they collect and store, including financial information of patients, login credentials,

  insurance information, medical records and diagnoses, and personal information of employees and

  patients—all extremely valuable on underground markets.

         27.     This was known and obvious to Broward Health as it observed frequent public

  announcements of data breaches affecting healthcare providers and knew that information of the

  type it collected, maintained, and stored is highly coveted and a frequent target of hackers.

         28.     According to a report by the HIPAA Journal, “data breach statistics clearly show

  there has been an upward trend in data breaches over the past 10 years, with 2020 seeing more

  data breaches reported than any other year since records first started being published.” 1 In fact,

  healthcare data breaches were up 55% in 2020 from the prior year alone. 2




  1
    https://www.hipaajournal.com/healthcare-data-breach-statistics/ (last visited January 7, 2022).
  2
    https://www.cpomagazine.com/cyber-security/healthcare-cyber-attacks-rise-by-55-over-26-million-in-
  the-u-s-impacted/ (last visited January 7, 2022).

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         29.     It is well known that use of stolen credentials through long been the most popular

  and effective method of gaining authorized access to a company’s internal networks and that

  companies should activate defenses to prevent such attacks.

         30.     According to the Federal Bureau of Investigation (FBI), phishing schemes designed

  to induce individuals to reveal personal information were the most common type of cybercrime in

  2020, with such incidents nearly doubling in frequency between 2019 and 2020. 3 According to

  Verizon’s 2021 Data Breach Investigations Report, 43% of breaches stemmed from phishing

  and/or pretexting schemes. 4

         31.     The risk is so prevalent for healthcare providers that on October 28, 2020, the FBI

  and two federal agencies issued a “Joint Cybersecurity Advisory” warning that they have “credible

  information of an increased and imminent cybercrime threat to U.S. hospitals and healthcare

  providers.” 5 The Cybersecurity and Infrastructure Security Agency (CISA), the Department of




  3
    https://www.ic3.gov/Media/PDF/AnnualReport/2020_IC3Report.pdf (last visited January 7, 2022).
  4
    https://www.verizon.com/business/resources/reports/dbir/2021/masters-guide/ (subscription required)
  (last visited January 7, 2022).
  5
    https://us-cert.cisa.gov/sites/default/files/publications/AA20-
  302A_Ransomware%20_Activity_Targeting_the_Healthcare_and_Public_Health_Sector.pdf (last visited
  January 7, 2022).

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  Health and Human Services (HHS), and the FBI issued the advisory to warn healthcare providers

  to take “timely and reasonable precautions to protect their networks from these threats.”6

         32.     There are two primary ways to mitigate the risk of stolen credentials: user education

  and technical security barriers. User education is the process of making employees or others users

  of a network aware of common disclosure schemes and implementing company-wide policies

  requiring the request or transfer of sensitive personal or financial information only through secure

  sources to known recipients. For example, a common phishing e-mail is an “urgent” request from

  a company “executive” requesting confidential information in an accelerated timeframe. The

  request may come from an e-mail address that appears official but contains only one different

  number or letter. Other phishing methods include baiting a user to click a malicious link that

  redirects them to a nefarious website or to download an attachment containing malware.

         33.     User education provides the easiest method to assist in properly identifying

  fraudulent “spoofing” e-mails and prevent unauthorized access of sensitive internal information.

  According to September 2020 guidance from CISA, organizations housing sensitive data should

  “[i]mplement a cybersecurity user awareness and training program that includes guidance on how

  to identify and report suspicious activity” and conduct “organization-wide phishing tests to gauge

  user awareness and reinforce the importance of identifying potentially malicious emails.” 7

         34.     From a technical perspective, companies can also greatly reduce the flow of

  fraudulent e-mails by installing software that scans all incoming messages for harmful attachments

  or malicious content and implementing certain security measures governing e-mail transmissions,

  including Sender Policy Framework (SPF) (e-mail authentication method used to prevent



  6
   Id.
  7
   https://www.cisa.gov/sites/default/files/publications/CISA_MS-
  ISAC_Ransomware%20Guide_S508C_.pdf (last visited January 7, 2022).

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   spammers from sending messages on behalf of a company’s domain), DomainKeys Identified Mail

   (DKIM) (e-mail authentication method used to ensure messages are not altered in transit between

   the sending and recipient servers), and Domain-based Message Authentication, Reporting and

   Conformance (DMARC), which “builds on the widely deployed [SPF] and [DKIM] protocols,

   adding a reporting function that allows senders and receivers to improve and monitor protection

   of the domain from fraudulent email.” 8

             35.   Additionally, because the goal of these schemes is to gain an employee’s login

   credentials in order to access a company’s network, there are industry-standard measures that

   companies can implement to greatly reduce unauthorized access, even if an individual’s login

   credentials are disclosed. For example, multi-factor authentication is a security system that

   requires more than one method of authentication from independent categories of credentials to

   verify the user’s identity for a login. This could include entering a code from the user’s smartphone,

   answering a security question, or providing a biometric indicator such as a fingerprint or facial

   recognition—in addition to entering a username and password. Thus, even if hackers obtain an

   employee’s username and password, access to the company’s system is thwarted because they do

   not have access to the additional authentication methods.

             36.   Similarly, companies housing sensitive data must implement adequate “network

   segmentation,” which is the practice of dividing a larger network into several smaller subnetworks

   that are each isolated from one another to provide enhanced security. For example, hackers that

   gain access to an unsegmented network (commonly through phishing) can move laterally across

   the network to access databases containing valuable assets such as sensitive personal information

   or financial records. Malicious lateral movement can be difficult to detect because it oftentimes



   8
       Id.

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   appears as normal network traffic. By implementing adequate network segmentation, companies

   can prevent even those hackers who already gained a foothold in their network from moving across

   databases to access their most sensitive data.

           37.     Network segmentation is commonly used in conjunction with the principle of least

   privilege (POLP), which is a security practice that limits employees’ privileges to the minimum

   necessary to perform the job or task. In an IT environment, adhering to POLP reduces the risk of

   hackers gaining access to critical systems or sensitive data by compromising a low-level user

   account, device, or application. 9 In an example given by security software provider Digital

   Guardian:

           [A]n employee whose job is to enter info into a database only needs the ability to
           add records to that database. If malware infects that employee’s computer or if the
           employee clicks a link in a phishing email, the malicious attack is limited to
           making database entries. If that employee has root access privileges, however, the
           infection can spread system-wide. 10

   This is precisely why approximately 67% of targeted malware and stolen credential schemes are

   directed at individual contributors and lower-level management personnel. 11

           38.     In addition to mitigating the risk of stolen credentials, the CISA guidance

   encourages organizations to prevent unauthorized access by:

                   •   Conducting regular vulnerability scanning to identify and                      address
                       vulnerabilities, particularly on internet-facing devices;

                   •   Regularly patching and updating software to latest available versions,
                       prioritizing timely patching of internet-facing servers and software processing
                       internet data;

                   •   Ensuring devices are properly configured and that security features are enabled;


   9
     https://digitalguardian.com/blog/what-principle-least-privilege-polp-best-practice-information-security-
   and-compliance (last visited January 7, 2022).
   10
     Id.
   11
     https://healthitsecurity.com/news/pharmaceutical-companies-most-targeted-industry-by-cybercriminals
   (last visited January 7, 2022).

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                     •     Employing best practices for use of Remote Desktop Protocol (RDP) as threat
                           actors often gain initial access to a network through exposed and poorly secured
                           remote services; and

                     •     Disabling operating system network file sharing protocol known as Server
                           Message Block (SMB) which is used by threat actors to travel through a
                           network to spread malware or access sensitive data. 12

             39.     The CISA guidance further recommends use of a centrally managed antivirus

   software utilizing automatic updates that will protect all devices connected to a network (as

   opposed to requiring separate software on each individual device), as well as implementing a real-

   time intrusion detection system that will detect potentially malicious network activity that occurs

   prior to ransomware deployment. 13

             40.     Despite holding the PII and PHI of thousands of patients, Broward Health failed to

   adhere these recommended best practices. Indeed, had Broward Health implemented common

   sense security measures like network segmentation and POLP, the hackers never could have

   accessed millions of patient files using the credentials of a third-party provider and the breach

   would have been prevented or much smaller in scope. Broward Health also lacked the necessary

   safeguards to detect and prevent phishing attacks and failed to implement adequate monitoring or

   control systems to detect the unauthorized infiltration after it occurred.

             41.     Broward Health, like any healthcare provider its size storing valuable data, should

   have had robust protections in place to detect and terminate a successful intrusion long before

   access and exfiltration could expand to millions of patient files. Broward Health’s implementation

   of enhanced security measures only after the fact is inexcusable given its knowledge that it was a

   prime target for cyberattacks.




   12
        CISA Guide at 4.
   13
        Id. at 5.

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                    Broward Heath has a Troubling History of Governance Issues

          42.     Broward Health is a taxpayer-supported district that runs hospitals and clinics in

   the northern two-thirds of Broward County. With an annual budget approaching $2 billion,

   Broward Health is one of the country’s ten largest public health systems. The system operates four

   hospitals, with a total of 1,579 beds, 8,300 employees, and more than 1,700 doctors.

          43.     Despite its prominent stature, Broward Health has been charged with numerous acts

   of corruption that calls into questions its commitment to and investment in patient care. For

   example, in 2015 Broward Health entered into a $69.5 million with the state of Florida and the

   DOJ amid whistleblower allegations that it engaged in illegal kickbacks based on the number of

   patient referrals to the Broward Health system. Six months later, the State of Florida demanded

   the healthcare system pay $5.3 million to settle related Medicaid fraud charges. 14

          44.     In March of 2016, Broward Health’s CEO, Nabil El Sanadi, M.D. committed

   suicide. In the year before he killed himself, Dr. El Sanadi brought in a corporate private

   investigator to probe wrongdoing at the public hospital system, meeting with him in restaurants

   and at his home because he feared his office was bugged. 15

          45.     In December 2016, the Broward Health board fired CEO Pauline Grant after an

   investigation revealed probable violations of the anti-kickback statute. The following year, several

   current and former Broward Health board members were indicted for violations of the Florida

   Sunshine Law after four commissioners held de facto meetings at a hotel, restaurant, and by




   14
      https://www.sun-sentinel.com/local/broward/fl-broward-health-ag-demand-20160318-story.html (last
   visited January 7, 2022).
   15
      https://www.sun-sentinel.com/local/broward/fl-broward-health-investigation-20160202-story.html (last
   visited January 7, 2022).

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   telephone to discuss the allegations against Grant. 16 Broward Health’s board of directors later

   approved a $975,000 settlement with Ms. Grant after she sued for wrongful termination. 17

           46.     In May 2017, the Broward Health directors voted to approve board member Beverly

   Capasso as interim CEO, with an annual salary of $650,000. Controversy arose when it was

   discovered Ms. Capasso voted for herself at a special board meeting despite having a clear conflict

   of interest.18 Following her appointment, it was reported that Ms. Capasso held a master’s degree

   in health administration from Kennedy-Western University, a defunct university identified by

   federal investigators as a diploma mill. 19

           47.     At the time of her appointment, the Florida Sun Sentinel questioned why Capasso

   was never fully vetted for the job. “Board members engaged in virtually no questioning of her

   background, her work experience or her likely approach to the job. No one asked whether anyone

   at Broward Health had talked with her previous health care industry employers about the quality

   of her work.” 20 Nevertheless, in February 2018, the board of Broward Health rejected four finalists

   for the CEO position and voted to elevate Capasso to permanent CEO, along with up to $1.125

   million in compensation, despite her being under indictment. 21




   16
      https://www.sun-sentinel.com/local/broward/fl-sb-broward-health-charges-20171212-story.html (last
   visited January 7, 2022).
   17
      https://www.fiercehealthcare.com/hospitals-health-systems/broward-health-settles-ex-ceo-for-975-000
   (last visited January 7, 2022).
   18
      https://www.local10.com/news/2017/05/12/new-broward-health-interim-ceo-voted-for-herself-for-job/
   (last visited January 7, 2022).
   19
      https://www.sun-sentinel.com/health/fl-sb-capasso-degree-20170629-story.html (last visited January 7,
   2022).
   20
      https://www.sun-sentinel.com/local/broward/fl-sb-broward-health-new-ceo-20170508-story.html (last
   visited January 7, 2022).
   21
      https://www.sun-sentinel.com/local/broward/fl-sb-broward-health-ceo-meeting-20180130-story.html
   (last visited January 7, 2022).

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           48.     In October 2018, Capasso resigned after allegations of infighting between Broward

   Health’s general counsel’s office, the executive team, and an independent law firm appointed to

   ensure the Broward Health is abiding by the terms of its DOJ settlement. 22

           49.     In July 2019, Broward Health paid a $690,000 fine for violating the terms of the

   DOJ settlement after it was alleged Broward Health failed to take certain required steps to ensure

   compliance with anti-kickback laws and breached five provisions of the settlement agreement,

   leading to individual penalties of up to $2,500 a day. 23

           50.     In June 2021, Broward Health’s former procurement Brian Bravo pleaded guilty to

   a federal conspiracy for accepting over $400,000 in kickbacks in exchange for awarding vendors

   lucrative government contracts. 24

           51.     These are just a subset of the allegations of corruption and misconduct plaguing

   taxpayer-funded Broward Health. Thus, while it is clear Broward Health had the knowledge and

   resources to prevent a breach—and in fact made significant expenditures to pay settlements and

   fines—the organization neglected to make corresponding investments in data security to ensure

   the millions of patient files in its possession were securely stored.

                             Allegations Relating to Plaintiff Daniel Esterly

           52.     Plaintiff Daniel Esterly lives and resides in Pittsburgh, Pennsylvania and is a former

   healthcare patient of a Broward Health healthcare facility.

           53.     For purposes of receiving medical treatment, Mr. Esterly was required to provide

   Broward Health with his sensitive personal information, including, among other information, his



   22
      https://www.miamiherald.com/news/health-care/article219429370.html (last visited January 7, 2022).
   23
      https://www.politico.com/states/florida/story/2019/07/16/broward-paid-fine-for-breaching-2015-fraud-
   settlement-with-feds-1098093 (last visited January 7, 2022).
   24
      https://www.local10.com/news/local/2021/06/02/ex-broward-health-exec-pleads-guilty-to-400k-
   bribery-scheme/ (last visited January 7, 2022).

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   full name, home address, date of birth, e-mail address, Social Security number, health insurance

   ID card, and driver’s license.

          54.     Broward Health also maintained Mr. Esterly’s patient account numbers, health

   insurance plan member ID numbers, medical record numbers, dates of service, provider names,

   and medical and clinical treatment information.

          55.     In January 2022, Mr. Esterly received a notification letter from Broward Health

   stating that he was a victim of the Data Breach. The letter stated that: “We are alerting you to this

   situation now that the involvement of your personal information has been confirmed.”

          56.     The letter recommended that Mr. Esterly take certain actions like monitoring his

   financial accounts and “placing a ‘fraud alert’ and/or a ‘security freeze’ on your credit report to

   further detect any possible misuse of your personal information.” The letter further stated that

   “[w]e recommend that you consider steps to protect yourself from medical identity theft. Medical

   identity theft occurs when someone uses an individual’s name, and sometimes other identifying

   information, without the individual’s knowledge to obtain medical services or products, or to

   fraudulently bill for medical services that have not been provided. We suggest that you regularly

   review the explanation of benefits statements that you receive from your health plan. If you see

   any service that you did not receive, contact the health plan at the number on the statement.”

          57.     Despite making these recommendations, Broward Health also attempted to

   downplay the risk of harm by stating three times in the letter that “we have no evidence that your

   personal information has been misused.” This statement is facially dubious as the objective of

   almost every data breach is to access information that can be misused for financial gain and in any

   event Broward Health would not receive reports of misuse until after victims are affirmatively

   notified they were subject to the Data Breach.



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             58.     As a result of the Data Breach, Mr. Esterly has spent time and effort researching

   the breach and reviewing his financial and medical account statements for evidence of

   unauthorized activity, which he will continue to do indefinitely. Mr. Esterly also suffered

   emotional distress knowing that his highly personal medical and treatment information is no longer

   confidential and can be used for blackmail, extortion, medical-related identity theft or fraud, and

   any number of additional harms against him for the rest of his life.

              Broward Health Failed to Comply with Federal Law and Regulatory Guidance

             59.     Broward Health is a healthcare provider covered by the Health Insurance Portability

   and Accountability Act of 1996 (“HIPAA”) (see 45 C.F.R. § 160.102) and as such is required to

   comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R Part 160 and Part 164, Subparts

   A and E (“Standards for Privacy of Individually Identifiable Health Information”), and Security

   Rule (“Security Standards for the Protection of Electronic Protected Health Information”), 45

   C.F.R. Part 160 and Part 164, Subparts A and C.

             60.     These rules establish national standards for the protection of patient information,

   including PHI, defined as “individually identifiable health information” which either “identifies

   the individual” or where there is a “reasonable basis to believe the information can be used to

   identify the individual,” that is held or transmitted by a healthcare provider. 45 C.F.R. § 160.103.

             61.     HIPAA limits the permissible uses of “protected health information” and prohibits

   unauthorized disclosures of “protected health information.” 25

             62.     HIPAA requires that Broward Health implement appropriate safeguards for this

   information. 26




   25
        45 C.F.R. § 164.502.
   26
        45 C.F.R. § 164.530(c)(1).

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             63.     HIPAA requires that Broward Health provide notice of a breach of unsecured

   protected health information, which includes protected health information that is not rendered

   unusable, unreadable, or indecipherable to unauthorized persons—i.e. non-encrypted data. 27

             64.     Despite these requirements, Broward Health failed to comply with its duties under

   HIPAA and its own Notice of Privacy Practices. Indeed, Broward Health failed to:

                a. Maintain an adequate data security system to reduce the risk of data breaches and
                   cyberattacks;

                b. Adequately protect the PII and PHI of its patients and employees;

                c. Ensure the confidentiality and integrity of electronically protected health information
                   created, received, maintained, or transmitted, in violation of 45 C.F.R. §
                   164.306(a)(1);

                d. Implement technical policies and procedures for electronic information systems that
                   maintain electronically protected health information to allow access only to those
                   persons or software programs that have been granted access rights, in violation of 45
                   C.F.R. § 164.312(a)(1);

                e. Implement adequate policies and procedures to prevent, detect, contain, and correct
                   security violations, in violation of 45 C.F.R. § 164.308(a)(1)(i);

                f. Implement adequate procedures to review records of information system activity
                   regularly, such as audit logs, access reports, and security incident tracking reports, in
                   violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

                g. Protect against reasonably anticipated uses or disclosures of electronic protected
                   health information that are not permitted under the privacy rules regarding
                   individually identifiable health information, in violation of 45 C.F.R. §
                   164.306(a)(3);

                h. Ensure compliance with the electronically protected health information security
                   standard rules by their workforces, in violation of 45 C.F.R. § 164.306(a)(4); and/or

                i.   Train all members of their workforces effectively on the policies and procedures with
                     respect to protected health information as necessary and appropriate for the members
                     of their workforces to carry out their functions and to maintain security of protected
                     health information, in violation of 45 C.F.R. § 164.530(b).




   27
        45 C.F.R. § 164.404; 45 C.F.R. § 164.402.

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           65.     Additionally, federal agencies have issued recommendations and guidelines to help

   minimize the risks of a data breach for businesses holding sensitive data. For example, the Federal

   Trade Commission (“FTC”) has issued numerous guides for business highlighting the importance

   of reasonable data security practices, which should be factored into all business-related decision

   making. 28

           66.     The FTC’s publication Protecting Personal Information: A Guide for Business sets

   forth fundamental data security principles and practices for businesses to implement and follow as

   a means to protect sensitive data. 29 Among other things, the guidelines note that businesses should

   (a) protect the personal customer information that they collect and store; (b) properly dispose of

   personal information that is no longer needed; (c) encrypt information stored on their computer

   networks; (d) understand their network’s vulnerabilities; and (e) implement policies to correct

   security problems. The FTC guidelines further recommend that businesses use an intrusion

   detection system, monitor all incoming traffic for unusual activity, monitor for large amounts of

   data being transmitted from their system, and have a response plan ready in the event of a breach. 30

           67.     Additionally, the FTC recommends that companies limit access to sensitive data,

   require complex passwords to be used on networks, use industry-tested methods for security;

   monitor for suspicious activity on the network, and verify that third-party service providers have

   implemented reasonable security measures. 31 This is consistent with guidance provided by the

   FBI, HHS, and the principles set forth in the CISA 2020 guidance.




   28
       https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last visited
   January 7, 2022).
    29
        https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
   information.pdf (last visited January 7, 2022).
   30
       Id.
   31
       FTC, Start With Security, supra note 41.

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           68.     The FTC has brought enforcement actions against businesses for failing to

   reasonably protect customer information, treating the failure to employ reasonable and appropriate

   measures to protect against unauthorized access to confidential consumer data as an unfair act or

   practice prohibited by Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45. Orders

   resulting from these actions further clarify the measures businesses must take to meet their data

   security obligations. 32

           69.     Broward Health was fully aware of its obligation to implement and use reasonable

   measures to protect the PII and PHI of its patients but failed to comply with these basic

   recommendations and guidelines that would have prevented this breach from occurring. Broward

   Health’s failure to employ reasonable measures to protect against unauthorized access to patient

   information constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C.

   § 45.

                               The Impact of the Data Breach on Victims

           70.     The PII and PHI exposed in the Data Breach is highly coveted and valuable on

   underground markets as it can be used to commit medical-related identity theft and fraud, one of

   the most dangerous and costly forms of identity theft.

           71.     According to a Reuters investigation that included interviews with nearly a dozen

   healthcare executives, cybersecurity investigators, and fraud experts, medical data for sale on

   underground markets “includes names, birth dates, policy numbers, diagnosis codes and billing

   information” which fraudsters commonly use “to create fake IDs to buy medical equipment or




   32
     https://www.ftc.gov/news-events/media-resources/protecting-consumer-privacy/privacy-security-
   enforcement (last visited January 7, 2022).

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   drugs that can be resold, or they combine a patient number with a false provider number and file

   made-up claims with insurers.” 33

          72.     According to Tom Kellermann, chief cybersecurity officer of cybersecurity firm

   Carbon Black, “Health information is a treasure trove for criminals [because] by compromising it,

   by stealing it, by having it sold, you have seven to 10 personal identifying characteristics of an

   individual.” 34 For this reason, a patient’s full medical records can sell for up to $1,000 on the dark

   web, while credit card numbers and Social Security numbers may cost $5 or less. 35

          73.     As noted by Paul Nadrag, a software developer for medical device integration and

   data technology company Capsule Technologies: “The reason for this price discrepancy—like any

   other good or service—is perceived value. While a credit card number is easily canceled, medical

   records contain a treasure trove of unalterable data points, such as a patient’s medical and

   behavioral health history and demographics, as well as their health insurance and contact

   information. Once records are stolen, cybercriminals often tap into members of a criminal network

   on the dark web experienced in drug trafficking and money laundering who are eager to buy

   medical records to support their criminal activities, such as illegally obtaining prescription

   medications, filing bogus medical claims or simply stealing the patient’s identity to open credit

   cards and fraudulent loans.” 36

          74.     Indeed, while federal law generally limits an individual’s liability for fraudulent

   credit card charges to $50, there are no such protections for a stolen medical identity. According


   33
      https://www.reuters.com/article/us-cybersecurity-hospitals/your-medical-record-is-worth-more-to-
   hackers-than-your-credit-card-idUSKCN0HJ21I20140924 (last visited January 7, 2022).
   34
      https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-perfcon (last
   visited January 7, 2022).
   35
      https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-
   for-on-the-dark-web/ (last visited January 7, 2022).
   36
      https://www.fiercehealthcare.com/hospitals/industry-voices-forget-credit-card-numbers-medical-
   records-are-hottest-items-dark-web (last visited January 7, 2022).

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   to a 2015 survey on medical identity theft conducted by the Ponemon Institute, victims of medical

   identity theft spent an average of $13,500 in out-of-pocket costs to resolve the crime. 37 Frequently,

   this information was used to obtain medical services or treatments (59%), obtain prescription drugs

   (56%), or receive Medicare and Medicaid benefits (52%). Only 14% of respondents said that the

   identity thieves used the information to obtain fraudulent credit accounts, indicating that medical

   information is a much more profitable market. 38

          75.     According to the Ponemon study, “[t]hose who have resolved the crime spent, on

   average, more than 200 hours on such activities as working with their insurer or healthcare provider

   to make sure their personal medical credentials are secured and can no longer be used by an

   imposter and verifying their personal health information, medical invoices and claims and

   electronic health records are accurate.” 39

          76.      Additionally, the study found that medical identity theft can have a negative impact

   on reputation as 45% of respondents said that medical identity theft affected their reputation

   mainly because of embarrassment due to disclosure of sensitive personal health conditions, with

   19% responding that they missed out on employment opportunities as a result.40

          77.     Exacerbating the problem, victims of medical identity theft oftentimes struggle to

   resolve the issue because HIPAA regulations require the victim to be personally involved in the

   resolution of the crime. 41 In some cases, victims may not even be able to access medical records

   using their personal information because they include a false name or data points taken from




   37
      https://static.nationwide.com/static/2014_Medical_ID_Theft_Study.pdf?r=65 (“Ponemon Study”) (last
   visited January 7, 2022).
   38
      Id. at 9.
   39
      Id. at 2.
   40
      Id. at 14.
   41
      Id. at 1.

                                                    22
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   another person’s records. Consequently, only 10% of medical identity theft victims responded that

   they “achiev[ed] a completely satisfactory conclusion of the incident.” 42

           78.     Moreover, it can take months or years for victims to even discover they are the

   victim of medical-related identity theft or fraud given the difficulties associated with accessing

   medical records and healthcare statements. For example, the FTC notes that victims may only

   discover their identity has been compromised after they:

              •   Receive a bill for medical services they did not receive;

              •   Get contacted by a debt collector about medical debt they do not owe;

              •   See medical collection notices on their credit report that they do not recognize;

              •   Find erroneous listings of office visits or treatments on their explanation of benefits
                  (EOB);

              •   Receive information from their health plan that they have reached their limit on
                  benefits; or

              •   Be denied insurance because their medical records show a condition they do not
                  have. 43

           79.     Perhaps most dangerous, however, is the potential for misdiagnoses or treatment.

   According to Ann Patterson, a senior vice president of the Medical Identity Fraud Alliance, “About

   20 percent of victims have told us that they got the wrong diagnosis or treatment, or that their care

   was delayed because there was confusion about what was true in their records due to the identity

   theft.” 44 This echoes the Ponemon study, which notes that “many respondents are at risk for further

   theft or errors in healthcare records that could jeopardize medical treatments and diagnosis.” 45




   42
      Id.
   43
      https://www.ftc.gov/system/files/documents/plain-language/bus75-medical-identity-theft-faq-health-
   care-health-plan.pdf (last visited January 7, 2022).
   44
      https://www.consumerreports.org/medical-identity-theft/medical-identity-theft/ (last visited January 7,
   2022).
   45
      Ponemon Study at 1.

                                                       23
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           80.     According to a Consumer Reports article entitled The Rise of Medical Identity

   Theft, this outcome “isn’t a hypothetical problem” as the “long tail on medical identity theft can

   create havoc in victims’ lives.” 46 As one example, a pregnant woman reportedly used a victim’s

   medical identity to pay for maternity care at a nearby hospital. When the infant was born with

   drugs in her system, the state threatened to take the victim’s four children away—not realizing her

   identity had been stolen. The victim ultimately had to submit to a DNA test to remove her name

   from the infant’s birth certificate, but it took years to get her medical records corrected. 47

           81.     Other types of medical fraud include “leveraging details specific to a disease or

   terminal illness, and long-term identity theft.”48 According to Tom Kellermann, “Traditional

   criminals understand the power of coercion and extortion. By having healthcare information—

   specifically, regarding a sexually transmitted disease or terminal illness—that information can be

   used to extort or coerce someone to do what you want them to do.”49 Long-term identity theft

   occurs when fraudsters combine a victim’s data points, including publicly-available information

   or data points exposed in other data breaches, to create new identities, open false lines of credit, or

   commit tax fraud that can take years to remedy.

           82.     Given the confirmed exfiltration of PII and PHI from Broward Health’s systems,

   many victims of the Data Breach have likely already experienced significant harms as the result

   of the Data Breach, including, but not limited to, medical-related identity theft and fraud. Plaintiff

   and class members have also spent time, money, and effort dealing with the fallout of the Data

   Breach, including purchasing credit monitoring services, reviewing financial and healthcare


   46
      https://www.consumerreports.org/medical-identity-theft/medical-identity-theft/ (last visited January 7,
   2022).
   47
      Id.
   48
      https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-perfcon (last
   visited January 7, 2022).
   49
      Id.

                                                       24
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   statements, checking credit reports, and spending time and effort searching for unauthorized

   activity.

             83.       It is no wonder then that identity theft exacts a severe emotional toll on its victims.

   The 2017 Identity Theft Resource Center survey evidences the emotional suffering experienced

   by victims of identity theft:

                   •   75% of respondents reported feeling severely distressed

                   •   67% reported anxiety

                   •   66% reported feelings of fear related to personal financial safety

                   •   37% reported fearing for the financial safety of family members

                   •   24% reported fear for their physical safety

                   •   15.2% reported a relationship ended or was severely and negatively impacted by the
                       identity theft; and

                   •   7% reported feeling suicidal. 50

             84.       Identity theft can also exact a physical toll on its victims. The same survey reported

   that respondents experienced physical symptoms stemming from their experience with identity

   theft:

                   •   48.3% of respondents reported sleep disturbances

                   •   37.1% reported an inability to concentrate / lack of focus

                   •   28.7% reported they were unable to go to work because of physical symptoms

                   •   23.1% reported new physical illnesses (aches and pains, heart palpitations, sweating,
                       stomach issues); and

                   •   12.6% reported a start or relapse into unhealthy or addictive behaviors. 51




   50
        https://www.idtheftcenter.org/images/page-docs/Aftermath_2017.pdf (last visited January 7, 2022).
   51
        Id.

                                                          25
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           85.      The unauthorized disclosure of the sensitive PII and PHI to data thieves also

   reduces its inherent value to its owner, which has been recognized by courts as an independent

   form of harm. 52

           86.      Consumers are injured every time their data is stolen and traded on underground

   markets, even if they have been victims of previous data breaches. Indeed, the dark web is

   comprised of multiple discrete repositories of stolen information that can be aggregated together

   or accessed by different criminal actors who intend to use it for different fraudulent purposes. Each

   data breach increases the likelihood that a victim’s personal information will be exposed to more

   individuals who are seeking to misuse it at the victim’s expense.

           87.      As the result of the wide variety of injuries that can be traced to the Data Breach,

   Plaintiff and class members have and will continue to suffer economic loss and other actual harm

   for which they are entitled to damages, including, but not limited to, the following:

                 a. the unconsented disclosure of confidential information to a third party;

                 b. losing the inherent value of their PII and PHI;

                 c. losing the value of the explicit and implicit promises of data security;

                 d. identity theft and fraud resulting from the theft of their PII and PHI;

                 e. costs associated with the detection and prevention of identity theft and unauthorized
                    use of their financial accounts;

                 f. anxiety, emotional distress, and loss of privacy;

                 g. costs associated with purchasing credit monitoring, credit freezes, and identity theft
                    protection services;

                 h. unauthorized charges and loss of use of and access to their financial and investment
                    account funds and costs associated with inability to obtain money from their accounts

   52
     See In re Marriott Int’l, Inc., Customer Data Sec. Breach Litig., 440 F. Supp. 3d 447, 462 (D. Md.
   2020) (“Neither should the Court ignore what common sense compels it to acknowledge—the value that
   personal identifying information has in our increasingly digital economy. Many companies, like Marriott,
   collect personal information. Consumers too recognize the value of their personal information and offer it
   in exchange for goods and services.”).

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                        or being limited in the amount of money they were permitted to obtain from their
                        accounts, including missed payments on bills and loans, late charges and fees, and
                        adverse effects on their credit;

                   i.   lowered credit scores resulting from credit inquiries following fraudulent activities;

                   j.   costs associated with time spent and the loss of productivity or the enjoyment of one’s
                        life from taking time to address and attempt to mitigate and address the actual and
                        future consequences of the Data Breach, including searching for fraudulent activity,
                        imposing withdrawal and purchase limits on compromised accounts, and the stress,
                        nuisance, and annoyance of dealing with the repercussions of the Data Breach; and

                   k. the continued, imminent, and certainly impending injury flowing from potential
                      fraud and identify theft posed by their PII and PHI being in the possession of one or
                      many unauthorized third parties.

             88.        Even in instances where an individual is reimbursed for a financial loss due to

   identity theft or fraud, that does not make that individual whole again as there is typically

   significant time and effort associated with seeking reimbursement.

             89.        There may also be a significant time lag between when personal information is

   stolen and when it is misused for fraudulent purposes. According to the Government

   Accountability Office, which conducted a study regarding data breaches: “law enforcement

   officials told us that in some cases, stolen data may be held for up to a year or more before being

   used to commit identity theft. Further, once stolen data have been sold or posted on the Web,

   fraudulent use of that information may continue for years. As a result, studies that attempt to

   measure the harm resulting from data breaches cannot necessarily rule out all future harm.” 53

             90.        Plaintiff and class members place significant value in data security. According to a

   survey conducted by cyber-security company FireEye Mandiant, approximately 50% of

   consumers consider data security to be a main or important consideration when making purchasing

   decisions and nearly the same percentage would be willing to pay more in order to work with a



   53
        http://www.gao.gov/new.items/d07737.pdf (last visited January 7, 2022).

                                                         27
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   provider that has better data security. Likewise, 70% of consumers would provide less personal

   information to organizations that suffered a data breach. 54

          91.     Because of the value consumers place on data privacy and security, healthcare

   providers with robust data security practices are viewed more favorably by patients and can

   command higher prices than those who do not. Consequently, had Broward Health’s patients

   known the truth about its data security practices—that it did not adequately protect and store their

   PII and PHI —they would not have sought medical care from Broward Health or would have paid

   significantly less. As such, Plaintiff and class members did not receive the benefit of their bargain

   with Broward Health because they paid for the value of services they did not receive.

          92.     Plaintiff and class members have a direct interest in Broward Health’s promises

   and duties to protect their PII and PHI, i.e., that Broward Health not increase their risk of identity

   theft and fraud. Because Broward Health failed to live up to its promises and duties in this respect,

   Plaintiff and class members seek the present value of identity protection services to compensate

   them for the present harm and present and continuing increased risk of harm caused by Broward

   Health’s wrongful conduct. Through this remedy, Plaintiff and class members seek to restore

   themselves and class members as close to the same position as they would have occupied but for

   Broward Health’s wrongful conduct, namely its failure to adequately protect Plaintiff’s and class

   members’ PII and PHI.

          93.     Plaintiff and class members further seek to recover the value of the unauthorized

   access to their PII and PHI permitted through Broward Health’s wrongful conduct. This measure

   of damages is analogous to the remedies for unauthorized use of intellectual property. Like a

   technology covered by a trade secret or patent, use or access to a person’s PII or PHI is non-


   54
     https://www.fireeye.com/blog/executive-perspective/2016/05/beyond_the_bottomli.html (last visited
   January 7, 2022).

                                                    28
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   rivalrous—the unauthorized use by another does not diminish the rights-holder’s ability to practice

   the patented invention or use the trade-secret protected technology. Nevertheless, a plaintiff may

   generally recover the reasonable use value of the IP—i.e., a “reasonable royalty” from an infringer.

   This is true even though the infringer’s use did not interfere with the owner’s own use (as in the

   case of a non-practicing patentee) and even though the owner would not have otherwise licensed

   such IP to the infringer. A similar royalty or license measure of damages is appropriate here under

   common law damages principles authorizing recovery of rental or use value. This measure is

   appropriate because (a) Plaintiff and class members have a protectible property interest in their PII

   and PHI; (b) the minimum damages measure for the unauthorized use of personal property is its

   rental value; and (c) rental value is established with reference to market value, i.e., evidence

   regarding the value of similar transactions.

          94.     Broward Health’s deficient notice letter also caused Plaintiff and class members

   harm. For example, Broward Health provided no context for its repeated unsubstantiated statement

   that there was “no evidence that your personal information has been misused” as the objective of

   almost every data breach is to gain access to an organization’s sensitive data so that the data can

   be misused for financial gain. Furthermore, the letter did not explain the precise nature of the

   attack, the identity of the hackers, or the number of individuals affected. Broward Health’s decision

   to withhold these key facts is significant because affected individuals may take different

   precautions depending on the severity and imminence of the perceived risk. By waiting months to

   disclose the Data Breach and by downplaying the risk of misuse, Broward Health prevented

   victims from taking meaningful, proactive, and targeted mitigation measures that could help

   protect them from harm.




                                                    29
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             95.    Because Broward Health continues to hold the PII and PHI of its patients, Plaintiff

   and class members have an interest in ensuring that their PII and PHI is secured and not subject to

   further theft.

                                   CLASS ACTION ALLEGATIONS

             96.    Plaintiff seeks relief in his individual capacity and as a representative of all others

   who are similarly situated. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff brings this

   action on behalf of himself and the Class defined as: All individuals whose personal information

   was compromised in the Data Breach (the “Class”).

             97.    Specifically excluded from the Class are Defendant; its officers, directors, or

   employees; any entity in which Defendant has a controlling interest; and any affiliate, legal

   representative, heir, or assign of Defendant. Also excluded from the Class are any federal, state,

   or local governmental entities, any judicial officer presiding over this action and the members of

   their immediate family and judicial staff, and any juror assigned to this action.

             98.    Class Identity: The members of the Class are readily identifiable and ascertainable.

   Defendant and/or its affiliates, among others, possess the information to identify and contact class

   members.

             99.    Numerosity: The members of the Class are so numerous that joinder of all of them

   is impracticable. Broward Health’s disclosures reveal that the Class contains more than 1.3 million

   individuals whose PII was compromised in the Data Breach.

             100.   Typicality: Plaintiff’s claims are typical of the claims of the members of the Class

   because all class members had their PII compromised in the Data Breach and were harmed as a

   result.




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          101.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Class.

   Plaintiff has no known interest antagonistic to those of the Class and his interests are aligned with

   Class members’ interests. Plaintiff was subject to the same Data Breach as class members, suffered

   similar harms, and faces similar threats due to the Data Breach. Plaintiff has also retained

   competent counsel with significant experience litigating complex class actions, including Data

   Breach cases involving multiple classes and data breach claims.

          102.    Commonality and Predominance: There are questions of law and fact common to

   the Class such that there is a well-defined community of interest in this litigation. These common

   questions predominate over any questions affecting only individual class members. The common

   questions of law and fact include, without limitation:

                  a. Whether Defendant owed Plaintiff and class members a duty to implement and
                     maintain reasonable security procedures and practices to protect their PII and
                     PHI;

                  b. Whether Defendant breached an express or implied contract with Plaintiff and
                     class members, including whether Defendant breached an agreement with
                     Plaintiff and class members to keep their PII and PHI confidential;

                  c. Whether Defendant received a benefit without proper restitution making it
                     unjust for Defendant to retain the benefit without commensurate
                     compensation;

                  d. Whether Defendant acted negligently in connection with the monitoring
                     and/or protection of Plaintiff’s and class members’ PII and PHI;

                  e. Whether Defendant violated its duty to implement reasonable security systems
                     to protect Plaintiff’s and class members’ PII and PHI;

                  f. Whether Defendant’s breach of its duty to implement reasonable security
                     systems directly and/or proximately caused damages to Plaintiff and class
                     members;

                  g. Whether Defendant adequately addressed and fixed the vulnerabilities that
                     enabled the Data Breach;

                  h. Whether Plaintiff and class members are entitled to credit monitoring and
                     other injunctive relief;

                                                    31
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                  i.   Whether Defendant provided timely notice of the Data Breach to Plaintiff and
                       class members; and

                  j.   Whether class members are entitled to compensatory damages, punitive
                       damages, and/or statutory or civil penalties as a result of the Data Breach.

          103.    Defendant has engaged in a common course of conduct and Plaintiff and class

   members have been similarly impacted by Defendant’s failure to maintain reasonable security

   procedures and practices to protect patients’ PII and PHI, as well as Defendant’s failure to timely

   alert affected customers to the Data Breach.

          104.    Superiority: A class action is superior to other available methods for the fair and

   efficient adjudication of the controversy. Class treatment of common questions of law and fact is

   superior to multiple individual actions or piecemeal litigation. Absent a class action, most if not

   all class members would find the cost of litigating their individual claims prohibitively high and

   have no effective remedy. The prosecution of separate actions by individual class members would

   create a risk of inconsistent or varying adjudications with respect to individual class members and

   risk inconsistent treatment of claims arising from the same set of facts and occurrences. Plaintiff

   knows of no difficulty likely to be encountered in the maintenance of this action as a class action

   under the applicable rules.

                                       CLAIMS FOR RELIEF

                                              COUNT I
                                             Negligence
                                 (On Behalf of Plaintiff and the Class)

          105.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs.

          106.    Defendant required Plaintiff and class members to provide their PII and PHI as a

   condition of receiving healthcare services. Defendant collected and stored the data for purposes of

   providing medical treatment as well as for commercial gain.



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          107.      Defendant owed Plaintiff and class members a duty to exercise reasonable care in

   protecting their PII and PHI from unauthorized disclosure or access. Defendant acknowledged this

   duty in its Notice of Privacy Policy, where it promised not to disclose PII and PHI without

   authorization.

          108.      Defendant owed a duty of care to Plaintiff and class members to provide adequate

   data security, consistent with industry standards, to ensure that Defendant’s systems and networks

   adequately protected the PII and PHI.

          109.      As a healthcare provider, Defendant had a special relationship with Plaintiff and

   class members who entrusted Defendant to adequately their confidential personal, financial, and

   medical information.

          110.      Defendant’s duty to use reasonable care in protecting PII and PHI arises as a result

   of the parties’ relationship, as well as common law and federal law, including the HIPAA

   regulations described above and Defendant’s own policies and promises regarding privacy and

   data security.

          111.      Defendant knew, or should have known, of the risks inherent in collecting and

   storing PII and PHI in a centralized location, Defendant’s vulnerability to network attacks, and the

   importance of adequate security.

          112.      Defendant breached its duty to Plaintiff and class members in numerous ways, as

   described herein, including by:

             a. Failing to exercise reasonable care and implement adequate security systems,
                protocols, and practices sufficient to protect the PII and PHI of Plaintiff and class
                members;

             b. Failing to comply with industry standard data security measures for the healthcare
                industry leading up to the Data Breach;

             c. Failing to comply with its own privacy policies;


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             d. Failing to comply with regulations protecting the PII and PHI at issue during the
                period of the Data Breach;

             e. Failing to adequately monitor, evaluate, and ensure the security of Defendant’s
                network and systems;

             f. Failing to recognize in a timely manner that PII and PHI had been compromised;
                and

             g. Failing to timely and adequately disclose the Data Breach.

          113.    Plaintiff’s and class members’ PII and PHI would not have been compromised but

   for Defendant’s wrongful and negligent breach of their duties.

          114.    Defendant’s failure to take proper security measures to protect the sensitive PII and

   PHI of Plaintiff and class members as described in this Complaint, created conditions conducive

   to a foreseeable, intentional criminal act, namely the unauthorized access and exfiltration of PII

   and PHI by unauthorized third parties. Given that healthcare providers are prime targets for

   hackers, Plaintiff and class members are part of a foreseeable, discernible group that was at high

   risk of having their PII and PHI misused or disclosed if not adequately protected by Defendant.

          115.    It was also foreseeable that Defendant’s failure to provide timely and forthright

   notice of the Data Breach would result in injury to Plaintiff and class members.

          116.    As a direct and proximate result of Defendant’s conduct, Plaintiff and class

   members have and will suffer damages including: (i) the loss of rental or use value of their PII and

   PHI; (ii) the unconsented disclosure of their PII and PHI to unauthorized third parties; (iii) out-of-

   pocket expenses associated with the prevention, detection, and recovery from identity theft, fraud,

   and/or unauthorized use of their PII and PHI; (iv) lost opportunity costs associated with addressing

   and attempting to mitigate the actual and future consequences of the Data Breach, including, but

   not limited to, efforts spent researching how to prevent, detect, contest, and recover from fraud

   and identity theft; (v) time, effort, and expense associated with placing fraud alerts or freezes on


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   credit reports; (vi) anxiety, emotional distress, loss of privacy, and other economic and non-

   economic losses; (vii) the continued risk to their PII and PHI, which remains in Defendant’s

   possession and is subject to further unauthorized disclosures so long as Defendant fails to

   undertake appropriate and adequate measures to protect it; (viii) future costs in terms of time, effort

   and money that will be expended to prevent, detect, contest, and repair the inevitable and

   continuing consequences of compromised PII for the rest of their lives; and (ix) any nominal

   damages that may be awarded.

                                             COUNT II
                                         Negligence Per Se
                                 (On Behalf of Plaintiff and the Class)

          117.     Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs.

          118.     As a healthcare provider, Defendant is covered by HIPAA, 45 C.F.R. § 160.102,

   and is therefore obligated to comply with all rules and regulations under 45 C.F.R. Parts 160 and

   164.

          119.     45 C.F.R. Part 164 governs “Security and Privacy,” with Subpart A providing

   “General Provisions,” Subpart B regulating “Security Standards for the Protection of Electronic

   Protected Health Information,” Subpart C providing requirements for “Notification in the Case of

   Breach of Unsecured Protected Health Information,” and Subpart E governing “Privacy of

   Individually Identifiable Health Information.”

          120.     45 C.F.R. § 164.104 states that the “standards, requirements, and implementation

   specifications adopted under this part” apply to covered entities and their business associates, such

   as Defendant.

          121.     Defendant is obligated under HIPAA to, among other things, “ensure the

   confidentiality, integrity, and availability of all electronic protected health information the covered



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   entity or business associate creates, receives, maintains, or transmits” and “protect against any

   reasonably anticipated threats or hazards to the security or integrity of such information.” 45

   C.F.R. § 164.306.

          122.    45 C.F.R. Sections 164.308 (Administrative safeguards), 164.310 (Physical

   safeguards), 164.312 (Technical safeguards), 164.314 (Organizational requirements), and 164.316

   (Policies and procedures and documentation requirements) provide mandatory standards that all

   covered entities must adhere to.

          123.    Defendant violated HIPAA by failing to adhere to and meet the required standards

   as set forth in 45 C.F.R. §§ 164.308, 164.310, 164.312, 164.314, and 164.316.

          124.    Likewise, HIPAA regulations require covered entities “without unreasonable delay

   and in no case later than 60 calendar days after discovery of the breach” to “notify each individual

   whose unsecured protected health information has been, or is reasonably believed by the covered

   entity to have been, accessed, acquired, used, or disclosed as a result of” a data breach. 45 C.F.R.

   § 164.404. The notice must also contain a minimum amount of information regarding the breach

   (including the dates of the breach and its discovery), the types of protected health information that

   were involved, steps individuals should take to protect themselves from harm resulting from the

   breach, a description of what the entity is doing to investigate the breach and mitigate harm, and

   contact information to obtain further information. Id.

          125.    Defendant breached its notification obligations under HIPAA by failing to give

   timely and complete notice of the breach to Plaintiff and class members.

          126.    HIPAA requires Defendant to “reasonably protect” confidential data from “any

   intentional or unintentional use or disclosure” and to “have in place appropriate administrative,

   technical, and physical safeguards to protect the privacy of protected health information.” 45



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   C.F.R. § 164.530(c)(1). The confidential data at issue in this case constitutes “protected health

   information” within the meaning of HIPAA.

          127.    HIPAA further requires Defendant to disclose the unauthorized access and theft of

   the PII and PHI to Plaintiff and class members “without unreasonable delay” so that they can take

   appropriate measures to mitigate damages, protect against adverse consequences, and detect

   misuse of their PII and PHI. See 45 C.F.R. § 164.404.

          128.    Defendant violated HIPAA by failing to reasonably protect Plaintiff’s and class

   members’ PII and PHI and by failing to give timely and complete notice, as described herein.

          129.    Defendant’s violations of HIPAA constitute negligence per se.

          130.    Plaintiff and class members are within the class of persons that HIPAA and its

   implementing regulations were intended to protect.

          131.    The harm that occurred as a result of the Data Breach is the type of harm HIPAA

   was intended to guard against.

          132.    Additionally, Section 5 of the Federal Trade Commission Act (“FTC Act”)

   prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted and enforced

   by the FTC, the unfair act or practice by businesses, such as Defendant, of failing to use reasonable

   measures to protect PII and PHI. 15 U.S.C. § 45(a)(1).

          133.    The FTC publications and orders described above also form part of the basis of

   Defendant’s duty in this regard.

          134.    Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

   to protect PII and PHI and failing to comply with applicable industry standards. Defendant’s

   conduct was unreasonable given the nature and amount of PII and PHI they obtained, stored, and

   disseminated in the regular course of their business, and the foreseeable consequences of a data



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   breach, including, specifically, the significant damage that would result to Plaintiff and class

   members.

          135.    Defendant’s violations of Section 5 of the FTC Act constitute negligence per se.

          136.    Plaintiff and class members are within the class of persons that the FTC Act was

   intended to protect.

          137.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

   Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

   which, as a result of their failure to employ reasonable data security measures and avoid unfair and

   deceptive practices, caused the same harm as that suffered by Plaintiff and class members.

          138.    As a direct and proximate result of Defendant’s negligence per se, Plaintiff and

   class members sustained actual losses and damages as alleged herein.

                                            COUNT III
                                       Breach of Contract
                                (On Behalf of Plaintiff and the Class)

          139.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs.

          140.    Defendant disseminated a “Notice of Privacy Practices” to its patients which

   constitutes an agreement between Defendant and persons who provided their PII and PHI to

   Defendant, including Plaintiff and class members.

          141.    Plaintiff and class members formed a contract with Defendant and complied with

   all obligations under such contract when they provided PII to Defendant subject to the Notice of

   Privacy Practices.

          142.    Defendant promised in the Notice of Privacy Practices that it would “abide by the

   most stringent of the regulations as they pertain to Protected Health Information, including

   obtaining your prior written authorization, as required, before any such information is disclosed to



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   a third party” and to not disclose information unless as authorized. Defendant further promised it

   would “[m]aintain the privacy of Protected Health Information.”

          143.    Defendant breached its agreements with Plaintiff and class members when

   Defendant allowed for the disclose of Plaintiff’s and class members’ PII and PHI without their

   authorization and in a manner that was inconsistent with the permissible authorizations set forth

   in the Notice of Privacy Practices, as well as when it failed to maintain the confidentiality of

   Plaintiff’s and class members’ medical and treatment information.

          144.    As a direct and proximate result of these breaches, Plaintiff and class members

   sustained actual losses and damages as alleged herein, including that they did not receive the

   benefits of the bargains for which they paid. Plaintiff and class members alternatively seek an

   award of nominal damages.

                                            COUNT IV
                                    Breach of Implied Contract
                                (On Behalf of Plaintiff and the Class)

          145.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs

   and assert this claim in the alternative to his breach of contract claim to the extent necessary.

          146.    Plaintiff and class members were required to provide their PII to Defendant in order

   to receive healthcare services and treatment.

          147.    As part of these transactions, Defendant agreed to safeguard and protect the PII and

   PHI of Plaintiff and class members. Implicit in these transactions between Defendant and class

   members was the obligation that Defendant would use the PII and PHI for approved business

   purposes only and would not make unauthorized disclosures of the information or allow

   unauthorized access to the information.




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           148.    Additionally, Defendant implicitly promised to retain this PII and PHI only under

   conditions that kept such information secure and confidential and therefore had a duty to

   reasonably safeguard and protect the PII and PHI of Plaintiff and class members from unauthorized

   disclosure or access.

           149.    Plaintiff and class members entered into implied contracts with the reasonable

   expectation that Defendant’s data security practices and policies were reasonable and consistent

   with industry standards. Plaintiff and class members believed that Defendant would use part of the

   monies paid to Defendant under the implied contracts to fund adequate and reasonable data

   security practices to protect their PII and PHI.

           150.    Plaintiff and class members would not have provided and entrusted their PII and

   PHI to Defendant or would have paid less for Defendant’s services in the absence of the implied

   contract between them and Defendant. The safeguarding of Plaintiff’s and class members’ PII and

   PHI was critical to realizing the intent of the parties.

           151.    The nature of Defendant’s implied promise itself—the subject matter of the

   contractual provision at issue—was to protect Plaintiff’s and class members’ PII and PHI in order

   to prevent harm and prevent present and continuing increased risk.

           152.    Defendant breached their implied contract with Plaintiff and class members by

   failing to reasonably safeguard and protect Plaintiff’s and class members’ PII and PHI, which was

   compromised as a result of the Data Breach.

           153.    As a direct and proximate result of Defendant’s breaches, Plaintiff and class

   members sustained actual losses and damages as alleged herein, including that they did not receive

   the benefits of the bargains for which they paid. Plaintiff and class members alternatively seek an

   award of nominal damages.



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                                              COUNT V
                                         Unjust Enrichment
                                  (On Behalf of Plaintiff and the Class)

          154.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs

   and assert this claim in the alternative to their breach of contract claims to the extent necessary.

          155.    Plaintiff and class members have an interest, both equitable and legal, in their PII

   and PHI that was conferred upon, collected by, and maintained by the Defendant and which was

   stolen in the Data Breach. This information has independent value.

          156.    Plaintiff and class members conferred a monetary benefit on Defendant in the form

   of payments for medical and healthcare services, including those paid indirectly by Plaintiff and

   class members to Defendant.

          157.    Defendant appreciated and had knowledge of the benefits conferred upon it by

   Plaintiff and class members.

          158.    The price for medical and healthcare services that Plaintiff and class members paid

   (directly or indirectly) to Defendant should have been used by Defendant, in part, to pay for the

   administrative costs of reasonable data privacy and security practices and procedures.

          159.    Likewise, in exchange for receiving Plaintiff’s and class members’ valuable PII and

   PHI, which Defendant was able to use for their own business purposes and which provided actual

   value to Defendant, Defendant was obligated to devote sufficient resources to reasonable data

   privacy and security practices and procedures.

          160.    As a result of Defendant’s conduct, Plaintiff and class members suffered actual

   damages as described herein. Under principals of equity and good conscience, Defendant should

   be compelled to disgorge into a common fund for the benefit of Plaintiff and class members all

   unlawful or inequitable proceeds they received from Plaintiff and class members, including



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   damages equaling the difference in value between medical and healthcare services that included

   implementation of reasonable data privacy and security practices that Plaintiff and class members

   paid for and the services without reasonable data privacy and security practices that they actually

   received.

                                            COUNT VI
                                      Breach of Confidence
                                (On Behalf of Plaintiff and the Class)

          161.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs.

          162.    Plaintiff and class members maintained a confidential relationship with Defendant

   wherein Defendant undertook a duty not to disclose PII and PHI provided by Plaintiff and class

   members to unauthorized third parties. Such PII and PHI was confidential and novel, highly

   personal and sensitive, and not generally known.

          163.    Defendant knew Plaintiff’s and class members’ PII and PHI was being disclosed in

   confidence and understood the confidence was to be maintained, including by expressly and

   implicitly agreed to protect the confidentiality and security of the PII and PHI it collected, stored,

   and maintained.

          164.    There was disclosure of Plaintiff’s and class members’ PII and PHI as a result of

   the Data Breach in violation of this understanding. The disclosure occurred because Defendant

   failed to implement and maintain reasonable safeguards to protect its patients’ PII and PHI and

   failed to comply with industry-standard data security practices.

          165.    Plaintiff and class members suffered harm the moment the unconsented disclosure

   of the confidential information to an unauthorized third party took place.




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          166.    As a direct and proximate result of Defendant’s breach of confidence, Plaintiff and

   class members suffered injury and sustained actual losses and damages as alleged herein. Plaintiff

   and class members alternatively seek an award of nominal damages.

                                           COUNT VII
                                      Declaratory Judgment
                                (On Behalf of Plaintiff and the Class)

          167.    Plaintiff repeats and realleges every allegation set forth in the preceding paragraphs.

          168.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

   authorized to enter a judgment declaring the rights and legal relations of the parties and grant

   further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

   that are tortious and violate the terms of the federal statutes described in this Complaint.

          169.    An actual controversy has arisen in the wake of the Data Breach regarding

   Defendant’s present and prospective common law and other duties to reasonably safeguard PII and

   PHI and whether Defendant is currently maintaining data security measures adequate to protect

   Plaintiff and class members from further cyberattacks and data breaches that could compromise

   their PII and PHI.

          170.    Defendant still possesses PII and PHI pertaining to Plaintiff and class members,

   which means their PII remains at risk of further breaches because Defendant’s data security

   measures remain inadequate. Plaintiff and class members continue to suffer injuries as a result of

   the compromise of their PII and PHI and remain at an imminent risk that additional compromises

   of their PII and PHI will occur in the future.

          171.    Pursuant to the Declaratory Judgment Act, Plaintiff seeks a declaration that: (a)

   Defendant’s existing data security measures do not comply with its obligations and duties of care;

   and (b) in order to comply with their obligations and duties of care, (1) Defendant must have



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   policies and procedures in place to ensure the parties with whom it shares sensitive personal

   information maintain reasonable, industry-standard security measures, including, but not limited

   to, those listed at (ii), (a)-(i), infra, and must comply with those policies and procedures; (2)

   Defendant must: (i) purge, delete, or destroy in a reasonably secure manner Plaintiff’s and class

   members’ PII and PHI if it is no longer necessary to perform essential business functions so that

   it is not subject to further theft; and (ii) implement and maintain reasonable, industry-standard

   security measures, including, but not limited to:

             a. Engaging third-party security auditors/penetration testers as well as internal security
                personnel to conduct testing, including simulated attacks, penetration tests, and
                audits on Defendant’s systems on a periodic basis, and ordering Defendant to
                promptly correct any problems or issues detected by such third-party security
                auditors;

             b. Engaging third-party security auditors and internal personnel to run automated
                security monitoring;

             c. Auditing, testing, and training its security personnel regarding any new or modified
                procedures;

             d. Encrypting PII and PHI and segmenting PII and PHI by, among other things,
                creating firewalls and access controls so that if one area of Defendant’s systems is
                compromised, hackers cannot gain access to other portions of its systems;

             e. Purging, deleting, and destroying in a reasonable and secure manner PII and PHI not
                necessary to perform essential business functions;

             f. Conducting regular database scanning and security checks;

             g. Conducting regular employee education regarding best security practices;

             h. Implementing multi-factor authentication and POLP to combat system-wide
                cyberattacks; and

             i.   Routinely and continually conducting internal training and education to inform
                  internal security personnel how to identify and contain a breach when it occurs and
                  what to do in response to a breach.




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                                        REQUEST FOR RELIEF

          WHEREFORE, Plaintiff, on behalf of themselves and the Class set forth herein,

   respectfully requests the following relief:

          A.        That the Court certify this action as a class action pursuant to Rule 23 of the Federal

   Rules of Civil Procedure, appoint Plaintiff as class representatives and Plaintiff’s counsel as Class

   Counsel;

          B.        That the Court grant permanent injunctive relief to prohibit and prevent Defendant

   from continuing to engage in the unlawful acts, omissions, and practices described herein;

          C.        That the Court award Plaintiff and class members compensatory, consequential,

   and general damages, including nominal damages as appropriate, for each count as allowed by law

   in an amount to be determined at trial;

          D.        That the Court award statutory damages, trebled, and/or punitive or exemplary

   damages, to the extent permitted by law;

          E.        That the Court order disgorgement and restitution of all earnings, profits,

   compensation, and benefits received by Defendant as a result of their unlawful acts, omissions,

   and practices;

          F.        That Plaintiff be granted the declaratory and injunctive relief sought herein;

          G.        That the Court award to Plaintiff the costs and disbursements of the action, along

   with reasonable attorneys’ fees, costs, and expenses; and

          H.        That the Court award pre-and post-judgment interest at the maximum legal rate and

   all such other relief as it deems just and proper.




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                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury trial in the instant action.

   Dated: January 8, 2022
                                                 /s/ Julie Braman Kane       .




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